Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18        PageID.26    Page 1 of 12



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

PETER SHEFMAN,

             Plaintiff,
                                               Case No. 2:18-cv-11477
                                               Honorable David M. Lawson
vs.                                            Magistrate Anthony P. Patti

AMERICAN AIRLINES, INC.,

             Defendant.


 Danielle Cadoret (P77162)                    JAFFE RAITT HEUER & WEISS, PC
 Attorney for Plaintiff                       Scott R. Torpey (P36179)
 400 Monroe Avenue, Suite 290                 Justin M. Schmidt (P78125)
 Detroit, Michigan 48226                      Timothy J. O’Connell (P79737)
 (734) 925-6655                               Attorneys for Defendant
 (734) 808-0078 (Fax)                         27777 Franklin Road, Suite 2500
 DCadoret11@gmail.com                         Southfield, MI 48034
                                              (248) 351-3000
                                              (248) 351-3082 (Fax)
                                              storpey@jaffelaw.com
                                              jschmidt@jaffelaw.com
                                              toconnell@jaffelaw.com


  DEFENDANT AMERICAN AIRLINES, INC.’S MOTION TO DISMISS
 PLAINTIFF’S NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
          CLAIM AND PUNITIVE DAMAGES REQUEST

      Defendant American Airlines, Inc., by and through its attorneys, Jaffe Raitt

Heuer & Weiss, P.C., respectfully moves this Court under Fed. R. Civ. P. 12(b)(6)

to dismiss with prejudice Plaintiff Peter Shefman’s (“Plaintiff”) negligent infliction


                                          1
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18        PageID.27    Page 2 of 12



of emotional distress claim and request for punitive damages, for failure to state a

claim upon which relief can be granted against American. The facts and law in

support of this motion are set forth with particularity in the accompanying

memorandum of law, which American files in conformity with E.D. Mich. L.R.

7.1(d) and the Court’s individual rules.

      Pursuant to E.D. Mich. L.R. 7.1(a), the undersigned states that on July 9, 2010,

American’s counsel attempted to call Plaintiff’s counsel, but was unable to leave a

voicemail, and therefore, American’s counsel emailed Plaintiff’s counsel explaining

the basis of American’s motion and inquired whether Plaintiff would concur with

the same or not. On July 10, 2018, American’s counsel reached Plaintiff’s counsel

by telephone regarding whether Plaintiff intends to oppose American’s partial

motion to dismiss, and Plaintiff’s counsel confirmed that Plaintiff intends to oppose

the motion. L.R. 7.1(a)(2)(A). American confirms that it has satisfied the

concurrence requirements under L.R. 7.1(a).




                                           2
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18   PageID.28   Page 3 of 12



                                   Respectfully submitted:

                                   JAFFE, RAITT, HEUER & WEISS, P.C.

                                   By: /s/Scott R. Torpey
                                   Scott R. Torpey (P36179)
                                   Justin M. Schmidt (P78125)
                                   Timothy J. O’Connell (P79737)
                                   Attorneys for Defendant
                                   27777 Franklin Road, Suite 2500
                                   Southfield, Michigan 48034
                                   (248) 351-3000
                                   (248) 351-3082 (fax)
                                   storpey@jaffelaw.com
                                   jschmidt@jaffelaw.com
                                   toconnell@jaffelaw.com
Dated: July 10, 2018




                                     3
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18   PageID.29   Page 4 of 12



                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

PETER SHEFMAN,

           Plaintiff,
                                         Case No. 2:18-cv-11477
                                         Honorable David M. Lawson
vs.                                      Magistrate Anthony P. Patti

AMERICAN AIRLINES, INC.,

           Defendant.


 Danielle Cadoret (P77162)             JAFFE RAITT HEUER & WEISS, PC
 Attorney for Plaintiff                Scott R. Torpey (P36179)
 400 Monroe Avenue, Suite 290          Justin M. Schmidt (P78125)
 Detroit, Michigan 48226               Timothy J. O’Connell (P79737)
 (734) 925-6655                        Attorneys for Defendant
 (734) 808-0078 (Fax)                  27777 Franklin Road, Suite 2500
 DCadoret11@gmail.com                  Southfield, MI 48034
                                       (248) 351-3000
                                       (248) 351-3082 (Fax)
                                       storpey@jaffelaw.com
                                       jschmidt@jaffelaw.com
                                       toconnell@jaffelaw.com


DEFENDANT AMERICAN AIRLINES, INC.’S MEMORANDUM OF LAW
 IN SUPPORT OF ITS PARTIAL MOTION TO DISMISS PLAINTIFF’S
 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS CLAIM AND
               PUNITIVE DAMAGES REQUEST
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18         PageID.30    Page 5 of 12




                   STATEMENT OF ISSUES PRESENTED

1.    Should this Court dismiss Plaintiff’s negligent infliction of emotional distress
      claim because Plaintiff failed to plead, as required under Michigan law, any
      allegations that Plaintiff witnessed negligent injury to a third person and
      suffered mental disturbance as a result?

      American answers: Yes.
2.    Should this Court dismiss Plaintiff’s request for punitive damages because
      punitive damages are not recoverable under Michigan law unless expressly
      authorized by statute, and Plaintiff pleaded no applicable statute and no statute
      authorizes the recovery of punitive damages in this case?
      American answers: Yes.




                                          i
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18         PageID.31     Page 6 of 12



STATEMENT OF CONTROLLING/MOST APPROPRIATE AUTHORITY
        Pursuant to E.D. Mich. L.R. 7.1(d)(2), American provides the following as

the controlling and/or most appropriate authority for the relief sought.

Cases

Casey v. Auto Owners Ins. Co., 273 Mich. App. 388, 729 N.W.2d 277 (2006)

Duran v. Detroit News, Inc., 200 Mich. App. 622, 504 N.W.2d 715 (1993)

Gilbert v. DaimlerChrysler Corp., 470 Mich. 749, 685 N.W.2d 391 (2004)

Rules

Fed. R. Civ. P. 12(b)(6)




                                          ii
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18           PageID.32    Page 7 of 12



                          PRELIMINARY STATEMENT
      Defendant American Airlines, Inc. (“American”), by and through its

undersigned attorneys, respectfully submit this Memorandum of Law in support of

its partial motion to dismiss under Fed. R. Civ. P. 12(b)(6) Plaintiff Peter Shefman’s

(“Plaintiff”) negligent infliction of emotional distress claim and request for punitive

damages, for failure to state a claim upon which relief can be granted.

                     STATEMENT OF RELEVANT FACTS
      According to Plaintiff’s Complaint, on May 24, 2016, Plaintiff was scheduled

to travel on American Airlines Flight 450 (the “Aircraft”) from Detroit Metropolitan

Wayne County Airport (“DTW”) to Los Angeles International Airport (“LAX”) with

a layover at Phoenix Sky Harbor International Airport (“PHX”). (Doc. 1, Pl.’s

Compl., ¶ 8.) Plaintiff alleges that during the Flight, he was seated in an aisle seat

when a fully stocked, unsecured, and unattended beverage cart rolled down the aisle

and struck his right knee with great force causing immediate pain and injury. (Id., ¶¶

1, 9-12.)

      Plaintiff alleges that flight attendants rushed over to him and apologized for

abandoning the beverage cart and informed the Captain who contacted American

representatives and the paramedics about Plaintiff’s injury. (Id., ¶ 13.) Plaintiff

alleges the flight attendants were unable to locate a first aid kit on board the Aircraft

and only offered Tylenol and no other medical assistance. (Id., ¶ 15.) Plaintiff alleges


                                           1
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18          PageID.33    Page 8 of 12



the flight attendants failed to inquire whether there were any medical personnel on

board the Aircraft. (Id., ¶ 16.) Plaintiff alleges he spent the rest of the Flight to

Phoenix in pain and agony, which was exacerbated by the crew’s inability to handle

his panic and anxiety. (Id., ¶ 17.)

      Plaintiff claims he was required to be taken off the aircraft in Phoenix by

paramedics and transported to an emergency room and was diagnosed with spinal

stenosis and right knee derangement. (Id., ¶¶ 14, 19.) He claims he received shots of

morphine at the emergency room in Phoenix and was provided knee and back braces

and crutches and prescription medication for his pain and swelling. (Id., ¶¶ 19-20.)

Plaintiff further claims he was restricted to bed rest when he arrived on a later flight

to Los Angeles. (Id., ¶ 21.)

      Plaintiff alleges he was diagnosed with spinal stenosis and right knee

derangement with resultant continuing severe back and leg dysfunction. (Id., ¶ 22.)

He alleges he has significant interference with stability and movement, extremely

limited walking and ability to sit, bend, use the restroom, inability to sleep, and

anxiety. (Id., ¶ 23.) He also claims he is unable to work, socialize, or exercise. (Id.,

¶ 23.1 (Plaintiff has two paragraphs labeled Paragraph 23; therefore, American

labels the second Paragraph 23 as Paragraph 23.1).

      Plaintiff alleges two causes of action against American: 1) negligence; and 2)

negligent infliction of emotional distress. (Id., ¶¶ 24-45.) Plaintiff alleges generally


                                           2
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18        PageID.34    Page 9 of 12



that American negligently managed, maintained, operated and/or controlled the

beverage cart by failing to lock and secure it, which caused it to roll down the aisle

and injure Plaintiff. (Id., ¶¶ 24-35.)

      As to Plaintiff’s negligent infliction of emotional distress claim, Plaintiff

alleges generally that American breached its duty of care to Plaintiff and

unreasonably endangered the physical and mental well-being of Plaintiff, which

constitutes extreme and outrageous conduct beyond all bounds of decency. (Id., ¶¶

38-40.) As a result, Plaintiff claims he suffered and continues to suffer substantial

emotional distress. (Id., ¶ 42.)

      Plaintiff seeks compensatory in an amount in excess of $75,000.00, and

punitive damages in an amount to be determined at trial for American’s alleged gross

negligence and reckless disregard for safety and well-being of passengers, including

Plaintiff. (Id., PgID 9-10.)

                                     ARGUMENT

I.    Motion To Dismiss Standard Under Fed R. Civ. P. 12(b)(6)
      Under Fed. R. Civ. P. 12(b)(6), courts must dismiss a complaint if it fails to

state a claim upon which relief can be granted. In deciding a Rule 12(b)(6) motion,

courts must construe the complaint in the light most favorable to the plaintiff and

accept all well-pleaded factual allegations in the complaint as true. See Thompson v.

Bank of Am., N.A., 773 F.3d 741, 750 (6th Cir. 2014). To survive a motion to dismiss,


                                          3
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18         PageID.35    Page 10 of 12



the complaint must present “enough facts to state a claim to relief that is plausible

on its face.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 557, 570 (2007). A claim

is facially plausible if “plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard is not akin to

a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. at 678 (quoting Twombly, 550 U.S. at 556). The

complaint need not contain detailed factual allegations, but it must include more than

labels, conclusions, and formulaic recitations of the elements of a cause of action.

See Twombly, 550 U.S. at 555. “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.” Ashcroft, 556 U.S.

at 678.

II.   Plaintiff’s Negligent Infliction of Emotional Distress Claim Must Be
      Dismissed
      Under Michigan law, the tort of negligent infliction of emotional distress is

limited only to situations where a plaintiff witnesses negligent injury to a third

person and suffers mental disturbance as a result. See Duran v. Detroit News, Inc.,

200 Mich. App. 622, 629, 504 N.W.2d 715, 720 (1993) (citing Deitz v. Wometco W.

Mich. TV, Inc., 160 Mich. App. 367, 380-381, 407 N.W.2d 649 (1987); Wargelin v.

Mercy Health Corp., 149 Mich. App. 75, 385 N.W.2d 732 (1986)).

      Here, Plaintiff did not plead any allegations of negligent infliction of

                                           4
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18        PageID.36    Page 11 of 12



emotional distress as required under Michigan law. Plaintiff does not allege that he

witnessed any negligent injury to a third person. (Doc. 1, ¶¶ 36-45.) Additionally,

any suggestion that Plaintiff witnessed a negligent injury to himself does not support

a claim for negligent infliction of emotional distress under Michigan law. See Duran,

200 Mich. App. at 629. Accordingly, the Court must dismiss Plaintiff’s claim for

negligent infliction of emotional distress under Fed. R. Civ. P. 12(b)(6) for failure

to state a claim for relief.

III.   Plaintiff’s Punitive Damages Request Must Be Dismissed
       Plaintiff requests punitive damages as a result of American’s alleged gross

negligence and reckless disregard for safety, well-being and rights of Plaintiff. (Doc.

1, PgID 10.) Michigan law does not allow recovery of punitive damages absent

express statutory authority. See Gilbert v. DaimlerChrysler Corp., 470 Mich. 749,

765, 685 N.W.2d 391, 400 (2004) (“[C]ourts must be mindful of the fact that

punitive damages are available in Michigan only when expressly authorized by the

Legislature.” (Court’s emphasis)); Casey v. Auto Owners Ins. Co., 273 Mich. App.

388, 400, 729 N.W.2d 277, 286 (2006)). Plaintiff does not plead any applicable

statute and no statute authorizes punitive damages in this case. Accordingly, the

Court must dismiss Plaintiff’s punitive damages request.




                                          5
Case 2:18-cv-11477-DML-APP ECF No. 10 filed 07/10/18      PageID.37     Page 12 of 12



                                       Respectfully submitted:

                                       JAFFE, RAITT, HEUER & WEISS, P.C.

                                       By: /s/Scott R. Torpey
                                       Scott R. Torpey (P36179)
                                       Justin M. Schmidt (P78125)
                                       Timothy J. O’Connell (P79737)
                                       Attorneys for Defendant
                                       27777 Franklin Road, Suite 2500
                                       Southfield, Michigan 48034
                                       (248) 351-3000/(248) 351-3082 (fax)
                                       storpey@jaffelaw.com
                                       jschmidt@jaffelaw.com
                                       toconnell@jaffelaw.com
Dated: July 10, 2018

                         CERTIFICATE OF SERVICE
      I hereby certify that on July 10, 2018, I caused the foregoing document to be

electronically filed with the Clerk of the Court using the ECF system, which sent

notification of such filing upon all ECF Participants.


                                       By: /s/ Katherine M. Abrignani




                                          6
